                         Case 2:19-cv-00052-RAJ Document 1 Filed 01/11/19 Page 1 of 20



     1   RICHARD E. ZUCKERMAN
         Principal Deputy Assistant Attorney General
     2
         YEN JEANNETTE TRAN
     3   Trial Attorney, Tax Division
         U.S. Department of Justice
     4   P.O. Box 683
         Washington, D.C. 20044
     5   202-616-3366 (v)
         202-307-0054 (f)
     6   Y.Jeannette.Tran@usdoj.gov

     7   Of Counsel:
         ANNETTE L. HAYES
     8   U.S. Attorney, Western District of Washington

     9   Attorneys for the United States of America

    10                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE WESTERN DISTRICT OF WASHINGTON
    11                                             AT SEATTLE

    12
          UNITED STATES OF AMERICA,               )
    13                                            )                    Case No. 2:19-cv-00052
                   Plaintiff,                     )
    14                                            )                    COMPLAINT
                   v.                             )
    15                                            )
          ELMER J. BUCKARDT a.k.a. E.J. Buckardt; )
    16    KAREN A. BUCKARDT a.k.a.                )
          K.A. Buckardt;                          )
    17    D'SKELL AGAPE SOCIETY; and              )
          SNOHOMISH COUNTY,                       )
    18                                            )
                   Defendants.                    )
    19    _______________________________________)

    20              The United States of America (the “United States”), by and through its undersigned

    21   counsel, hereby complains and alleges as follows:

    22                                                 INTRODUCTION

    23              1.         This is a civil action timely brought by the United States to: (i) reduce to

    24   judgment the outstanding federal tax assessments against Elmer J. Buckardt a.k.a. E.J. Buckardt
          Complaint                                                               U.S. DEPARTMENT OF JUSTICE
          (Case No. 2:19-cv-00052)
                                                          1                       Tax Division, Western Region
    25                                                                            P.O. Box 683
                                                                                  Washington, D.C. 20044
                                                                                  Telephone: 202-616-3366

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                         Case 2:19-cv-00052-RAJ Document 1 Filed 01/11/19 Page 2 of 20



     1   (hereinafter referred to as Elmer J. Buckardt); (ii) find that two separate parcels of improved real

     2   property located in Snohomish County, Washington, described more completely below and

     3   referred to as the “5933 Property” and “6005 Property” (collectively, “Subject Properties”), are

     4   held by a nominee and/or alter ego of Elmer J. Buckardt, and/or that the Subject Properties were

     5   fraudulently transferred; (iii) foreclose federal tax liens on the Subject Properties; and (iv) sell

     6   the Subject Properties, and distribute the proceeds from such sale in accordance with the Court’s

     7   findings as to the validity and priority of the liens and claims of all parties.

     8                                          JURISDICTION AND VENUE

     9              2.         This action is commenced pursuant to 26 U.S.C. §§ 7401 and 7403 at the

    10   direction of a delegate of the Attorney General of the United States and with the authorization

    11   and request of the Chief Counsel of the Internal Revenue Service (“IRS”), a delegate of the

    12   Secretary of the Treasury of the United States.

    13              3.         The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1340 and

    14   1345, and 26 U.S.C. §§ 7402 and 7403.

    15              4.         Venue properly lies in this judicial district pursuant to 28 U.S.C. §§ 1391(b) and

    16   1396, because Elmer J. Buckardt resides in the Western District of Washington and because the

    17   Subject Properties are located within the Western District of Washington. Because Elmer J.

    18   Buckardt resides in Snohomish County and the Subject Properties are located in Snohomish

    19   County, pursuant to LCR 3(d), this action should be assigned to the Court in Seattle.

    20                                                  DEFENDANTS

    21              5.         Elmer J. Buckardt is named as a defendant because he has unpaid federal tax

    22   liabilities and an ownership interest in the Subject Properties.

    23              6.         Karen A. Buckardt a.k.a. K.A. Buckardt (hereinafter referred to as Karen A.

    24   Buckardt) is named as a defendant pursuant to 26 U.S.C. § 7403(b) because she may claim an
          Complaint                                                             U.S. DEPARTMENT OF JUSTICE
          (Case No. 2:19-cv-00052)
                                                         2                      Tax Division, Western Region
    25                                                                          P.O. Box 683
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     1   interest in the Subject Properties.

     2              7.         Elmer J. Buckardt and Karen A. Buckardt (“Buckardts”) were married in 1985

     3   and have been married to the present date.

     4              8.         The Buckardts reside at the 5933 Property and have resided there since 2001.

     5              9.         The D’Skell Agape Society is named as a defendant because pursuant to 26

     6   U.S.C. § 7403(b) because it may claim an interest in the Subject Properties.

     7              10.        Snohomish County is named as a defendant pursuant to 26 U.S.C. § 7403(b)

     8   because it may claim an interest in the Subject Properties.

     9                                             SUBJECT PROPERTIES

    10              11.        The Subject Properties sought to be foreclosed consist of two separate parcels of

    11   real property situated in the County of Snohomish, State of Washington, which are more fully

    12   described below.

    13                                                   5933 Property

    14              12.        The first parcel of real property has a street address of 5933 284th Street NW,

    15   Stanwood, WA 98292-6425, and bears Snohomish County Assessor’s Parcel No.

    16   32041600301100 (“5933 Property”). The 5933 Property is legally described as:

    17              That portion of Section 16, Township 32 North, Range 4 East, W M in Snohomish
                    County, Washington;
    18
                    Beginning at the Southwest corner of said Section;
    19              thence East 165 feet,
                    thence North 1320 feet,
    20              thence West 165 feet,
                    thence South 1320 feet to the point of beginning.
    21
                    13.        There is a triplewide mobile home and detached garage situated on the 5933
    22
         Property. The mobile home, that may or may not be deemed a fixture, that is located on the 5933
    23
         Property was built in 2002 and is 2,706 square feet in floor area.
    24
          Complaint                                                             U.S. DEPARTMENT OF JUSTICE
          (Case No. 2:19-cv-00052)
                                                         3                      Tax Division, Western Region
    25                                                                          P.O. Box 683
                                                                                Washington, D.C. 20044
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     1              14.        On or about November 8, 2000, Elmer J. Buckardt and Karen A. Buckardt

     2   acquired the 5933 Property as husband and wife by Statutory Warranty Deed from Karen O.

     3   Vance and Connie S. Danielson, and it is presumed to be marital community property under

     4   Washington law. The Statutory Warranty Deed was recorded with the Snohomish County

     5   Auditor on November 16, 2000 (Instrument No. 200011160583).

     6              15.        On or about April 30, 2001, Elmer J. Buckardt and Karen A. Buckardt purported

     7   to transfer the 5933 Property to the D’Skell Agape Society for no consideration by Quit Claim

     8   Deed. The Quit Claim Deed was recorded with the Snohomish County Auditor on May 2, 2001

     9   (Instrument No. 200105020278).

    10                                                  6005 Property

    11              16.        The second parcel of real property has a street address of 6005 284th Street NW,

    12   Stanwood, WA 98292-6426, and bears Snohomish County Assessor’s Parcel No.

    13   32041700402200 (“6005 Property”). The 6005 Property is legally described as:

    14              That portion of Section 17, Township 32 North, Range 4 East, W M in Snohomish
                    County, Washington, described as follows,
    15
                    Beginning at the Southeast corner of said Section,
    16              thence West 198 feet;
                    thence North 1320 Feet;
    17              thence East 198 feet;
                    thence South 1320 feet to the point of beginning;
    18              EXCEPT the South 305 feet of the West 85 feet thereof;
                    AND EXCEPT county road.
    19
                    17.        On or about November 8, 2000, Elmer J. Buckardt and Karen A. Buckardt
    20
         acquired the 6005 Property as husband and wife by Statutory Warranty Deed from Karen O.
    21
         Vance and Connie S. Danielson, and it is presumed to be marital community property under
    22
         Washington law. The Statutory Warranty Deed was recorded with the Snohomish County
    23
         Auditor on November 16, 2000 (Instrument No. 200011160583).
    24
          Complaint                                                            U.S. DEPARTMENT OF JUSTICE
          (Case No. 2:19-cv-00052)
                                                        4                      Tax Division, Western Region
    25                                                                         P.O. Box 683
                                                                               Washington, D.C. 20044
                                                                               Telephone: 202-616-3366

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     1            18.      On or about April 30, 2001, Elmer J. Buckardt and Karen A. Buckardt purported

     2   to transfer the 6005 Property to the D’Skell Agape Society for no consideration by Quit Claim

     3   Deed. The Quit Claim Deed was recorded with the Snohomish County Auditor on May 2, 2001

     4   (Instrument No. 200105020277).

     5                                       FACTUAL BACKGROUND

     6            19.      Elmer J. Buckardt has employed frivolous tax arguments as an excuse to not file,

     7   pay, or otherwise comply with federal tax laws and/or has engaged in filing patently false and

     8   frivolous lawsuits in an effort to obstruct the collection effort since at least 2000.

     9            20.      On the dates and for the amounts listed in the chart below, a duly authorized

    10   delegate of the Secretary of the Treasury made timely assessments against Elmer J. Buckardt for

    11   unpaid federal income taxes (Form 1040), civil penalties pursuant to 26 U.S.C. § 6702 (penalty

    12   for frivolous tax submissions) (“Section 6702 penalty”) and 26 U.S.C. § 6673(a)(1) penalty for

    13   sanctions and costs awarded by courts)1 (“Section 6673 penalty”), additions to tax penalties,

    14   interest, and other statutory additions as follows:

    15       Type of               Tax             Assessment      Amount Assessed             Unpaid Balance
             Tax                   Period          Date                                        Due as of
    16                                                                                         December 14,
                                                                                               2018 (including
    17                                                                                         accruals, fees and
                                                                                               collection costs,
    18                                                                                         payments, and
                                                                                               credits)
    19       1040                  12/31/2002      05/30/2005      $113,461.07 (t)             $328,066.41
             (Income)                              05/30/2005      $3,791.53 (etp)
    20                                             05/30/2005      $25,528.74 (lfp)
                                                   05/30/2005      $14,660.87 (i)
    21                                             09/03/2007      $28,365.27 (ftp)
                                                   11/18/2013      $92,232.88 (i)
    22
         1
           A penalty under 26 U.S.C. §§ 6702 and 6673 is considered a “tax.” See 26 U.S.C. § 6671(a)
    23   (“Except as otherwise provided, any reference in [Title 26] to “tax” imposed by [Title 26] shall
         be deemed also to refer to the penalties and liabilities provided by [Subchapter B-Assessable
    24   Penalties].”).
          Complaint                                                        U.S. DEPARTMENT OF JUSTICE
          (Case No. 2:19-cv-00052)
                                                   5                       Tax Division, Western Region
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                                                                             Washington, D.C. 20044
                                                                             Telephone: 202-616-3366

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     1                                           11/17/2014   $8,443.69 (i)
                                                 11/23/2015   $8,869.98 (i)
     2                                           11/21/2016   $10,907.16 (i)
         1040                       12/31/2003   11/30/2010   $42,862.00 (t)         $113,427.23
     3   (Income)                                11/30/2010   $9,643.95 (lfp)
                                                 11/30/2010   $24,905.27 (i)
     4                                           02/15/2016   $13,186.34 (i)
                                                 02/15/2016   $10,715.50 (ftp)
     5                                           11/21/2016   $3,001.64 (i)
         1040                       12/31/2004   11/30/2010   $20,551.00 (t)         $52,844.61
     6   (Income)                                11/30/2010   $4,623.98 (lfp)
                                                 11/30/2010   $596.55 (etp)
     7                                           11/30/2010   $10,209.00 (i)
                                                 02/15/2016   $6,125.21 (i)
     8                                           02/15/2016   $5,137.75 (ftp)
                                                 11/21/2016   $1,398.44 (i)
     9   1040                       12/31/2005   11/30/2010   $20,283.00 (t)         $49,562.72
         (Income)                                11/30/2010   $4,563.68 (lfp)
    10                                           11/30/2010   $813.58 (etp)
                                                 11/30/2010   $7,865.29 (i)
    11                                           02/15/2016   $5,707.86 (i)
                                                 02/15/2016   $5,070.75 (ftp)
    12                                           11/21/2016   $1,311.59 (i)
         1040                       12/31/2007   04/21/2014   $19,479.00 (t)         $10,283.38
    13   (Income)                                04/21/2014   $2,921.85 (lfp)
                                                 04/21/2014   $3,895.80 (ap)
    14                                           04/21/2014   $6,691.27 (i)
                                                 11/23/2015   $1,340.53 (i)
    15                                           11/23/2015   $2,538.14 (ftp)
                                                 11/21/2016   $555.39 (i)
    16   1040                       12/31/2008   04/02/2012   $19,299.00 (t)         $33,725.83
         (Income)                                04/02/2012   $3,860.00 (ap)
    17                                           04/02/2012   $2,721.96 (i)
                                                 09/03/2012   $868.45 (ftp)
    18                                           11/23/2015   $2,921.79 (i)
                                                 11/23/2015   $3,956.29 (i)
    19                                           11/21/2016   $1,098.20 (i)
         1040                       12/31/2010   09/23/2013   $19,321.00 (t)         $29,925.17
    20   (Income)                                09/23/2013   $412.42 (etp)
                                                 09/23/2013   $4,326.98 (lfp)
    21                                           09/23/2013   $1,906.82 (i)
                                                 09/23/2013   $2,884.65 (ftp)
    22                                           11/23/2015   $1,649.57(i)
                                                 11/23/2015   $1,699.45 (ftp)
    23                                           11/21/2016   $974.46 (i)
         1040                       12/31/2011   12/15/2014   $24,459.00 (t)         $45,620.45
    24
         Complaint                                                    U.S. DEPARTMENT OF JUSTICE
         (Case No. 2:19-cv-00052)
                                                  6                   Tax Division, Western Region
    25                                                                P.O. Box 683
                                                                      Washington, D.C. 20044
                                                                      Telephone: 202-616-3366

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     1    (Income)                                    12/15/2014      $484.24 (etp)
                                                      12/15/2014      $5,503.28 (lfp)
     2                                                12/15/2014      $2,495.26 (i)
                                                      12/15/2014      $3,913.44 (ftp)
     3                                                11/21/2016      $2,465.30 (i)
                                                      11/21/2016      $2,201.30 (ftp)
     4    6702                        12/31/2000      06/23/2008      $5,000.00 (cvpn1)      $8,210.34
          (Civil Penalty)                             11/18/2013      $1,123.72 (i)
     5                                                11/17/2014      $185.97 (i)
                                                      11/23/2015      $195.36 (i)
     6                                                11/21/2016      $240.22 (i)
          6702                        12/31/2001      09/01/2008      $5,000.00 (cvpn1)      $7,358.94
     7    (Civil Penalty)                             11/18/2013      $1,064.29 (i)
                                                      11/17/2014      $184.16 (i)
     8                                                11/23/2015      $194.37 (i)
                                                      11/21/2016      $239.63 (i)
     9    6702                        12/31/2002      09/08/2008      $5,000.00 (cvpn1)      $7,298.74
          (Civil Penalty)                             11/18/2013      $1,058.48 (i)
    10                                                11/17/2014      $183.99 (i)
                                                      11/23/2015      $193.27 (i)
    11                                                11/21/2016      $237.68 (i)
          6702                        12/31/2006      10/24/2011      $5,000.00 (cvpn1)      $6,409.20
    12    (Civil Penalty)                             11/21/2016      $860.07 (i)
          6702                        12/31/2007      10/24/2011      $5,000.00 (cvpn1)      $6,409.20
    13    (Civil Penalty)                             11/21/2016      $860.07 (i)
          6702 & 6673                 12/31/2008      10/10/2011      $5,000.00 (cvpn1)      $38,078.26
    14    (Civil Penalty)                             03/19/2012      $25,000.00 (cvpn2)
                                                      11/21/2016      $4,815.82 (i)
    15                                                                            TOTAL      $737,220.48
    16
         Key: t = tax
    17        cvpn1 = Section 6702 penalty
              cvpn2 = Section 6673 penalty
    18        i = interest
              ap = accuracy penalty (26 U.S.C. § 6662)
    19        etp = estimated tax penalty (26 U.S.C. § 6654)
              ftp = failure to pay tax penalty (26 U.S.C. § 6651)
    20        lfp = late filing penalty (26 U.S.C. § 6651)

    21              21.        The assessments for federal income taxes for tax year 2002 paragraph 20, above,

    22   were made pursuant to United States Tax Court Order of Dismissal and Decision entered on

    23   December 23, 2004 in the matter Elmer Jon Buckardt v. Commissioner of Internal Revenue

    24   Service (“CIR”), Tax Court Case No. 16074-04. The Tax Court found Elmer J. Buckardt liable
          Complaint                                                           U.S. DEPARTMENT OF JUSTICE
          (Case No. 2:19-cv-00052)
                                                        7                     Tax Division, Western Region
    25                                                                        P.O. Box 683
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     1   for a deficiency in federal income taxes in the amount of $113,461.07 for tax year 2002, and

     2   penalty additions to tax under: (i) 26 U.S.C. § 6651(a)(1) (late filing penalty) in the amount of

     3   $25,528.74 for tax year 2002; and (ii) 26 U.S.C. § 6654(a) (estimated tax penalty) in the amount

     4   of $3,791.52 for tax year 2002. The Tax Court further admonished Elmer J. Buckardt for

     5   advancing frivolous and groundless arguments and warned Elmer J. Buckardt that the Court

     6   would consider imposing a Section 6673 penalty should he advance similar arguments in the

     7   future.

     8              22.        The assessments for federal income taxes for tax year 2003, 2004, and 2005 in

     9   paragraph 20, above, were made pursuant to Tax Court Memorandum Findings of Fact and

    10   Opinion (T.C. Memo. 2010-145) entered on July 1, 2010 and Order and Decision entered on July

    11   15, 2010 in the matter Elmer Jon Buckardt v. CIR, Tax Court Case No. 27949-07. After a trial,

    12   the Tax Court found Elmer J. Buckardt liable for a deficiency in federal income taxes due in the

    13   amount of $42,862.00 for tax year 2003, $20,551.00 for tax year 2004, and $20,283.00 for tax

    14   year 2005, and additions to tax under: (i) 26 U.S.C. § 6651(a)(1) (late filing penalty) in the

    15   amount of $9,643.95 for tax year 2003, $4,623.98 for tax year 2004, and $4,563.68 for tax year

    16   2005; and (ii) under 26 U.S.C. § 6654(a) (estimated tax penalty) in the amount of $596.55 for tax

    17   year 2004 and $813.58 for tax year 2005. The Tax Court further warned Elmer J. Buckardt that

    18   the Court would consider imposing a Section 6673 penalty should he continue to make frivolous

    19   arguments or institute or maintain proceedings primarily for delay. Elmer J. Buckardt appealed

    20   to the United States Court of Appeals for the Ninth Circuit, Elmer Jon Buckardt v. Commissioner

    21   of Internal Revenue Service (“CIR”), Docket No. 10-72898, but the Court of Appeals affirmed

    22   the Tax Court’s decision in a Memorandum entered on July 13, 2012.

    23              23.        The assessments for federal income taxes for tax year 2007 in paragraph 20,

    24   above, were made after an audit examination of Elmer J. Buckardt’s filed return. On or about
          Complaint                                                            U.S. DEPARTMENT OF JUSTICE
          (Case No. 2:19-cv-00052)
                                                        8                      Tax Division, Western Region
    25                                                                         P.O. Box 683
                                                                               Washington, D.C. 20044
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     1   November 27, 2013, the IRS sent Elmer J. Buckardt a Notice of Deficiency per 26 U.S.C. § 6212

     2   computing his tax liability. The Statutory Notice of Deficiency also asserted additions to tax

     3   under 26 U.S.C. § 6651(a)(1) (late filing penalty) and 6662 (accuracy penalty). Elmer J.

     4   Buckardt did not timely petition the U.S. Tax Court to review the Statutory Notice of Deficiency.

     5              24.        The assessments for federal income taxes and Section 6673 penalty for tax year

     6   2008 in paragraph 20, above, were made pursuant to Tax Court Order entered October 13, 2011

     7   in the matter Elmer Jon Buckardt v. CIR, Tax Court Case No. 22131-10. The Tax Court found in

     8   favor of the IRS and found Elmer J. Buckardt liable for a deficiency in federal income taxes in

     9   the amount of $19,299.00 for tax year 2008, and penalty additions to tax under 26 U.S.C.

    10   § 6654(a) (estimated tax penalty) in the amount of $3,860.00 for tax year 2008. The Tax Court

    11   also imposed a Section 6673 penalty in the amount of $25,000.00 against Elmer J. Buckardt for

    12   asserting frivolous and groundless arguments and again admonished Elmer J. Buckardt that the

    13   Court would consider imposing another Section 6673 penalty should he advance similar

    14   arguments in the future. Elmer J. Buckardt appealed to the United States Court of Appeals for the

    15   Ninth Circuit, Elmer Jon Buckardt v. Commissioner of Internal Revenue Service (“CIR”),

    16   Docket No. 12-70143, but the Court of Appeals affirmed the Tax Court’s decision in a

    17   Memorandum entered on December 9, 2013.

    18              25.        The assessments for federal income taxes for tax year 2010 in paragraph 20,

    19   above, were made pursuant to a return prepared by the IRS pursuant to 26 U.S.C. § 6020(b). On

    20   or about May 1, 2013, the IRS sent Elmer J. Buckardt a Notice of Deficiency per 26 U.S.C.

    21   § 6212 computing his tax liability. The Statutory Notice of Deficiency also asserted additions to

    22   tax under 26 U.S.C. § 6651(a)(1) (late filing penalty), 6651(a)(2) (failure to pay penalty) and

    23   6654(a) (estimated tax penalty). Elmer J. Buckardt did not timely petition the U.S. Tax Court to

    24   review the Statutory Notice of Deficiency.
          Complaint                                                            U.S. DEPARTMENT OF JUSTICE
          (Case No. 2:19-cv-00052)
                                                        9                      Tax Division, Western Region
    25                                                                         P.O. Box 683
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     1              26.        The assessments for federal income taxes for tax year 2011 in paragraph 20,

     2   above, were made pursuant to a return prepared by the IRS pursuant to 26 U.S.C. § 6020(b). On

     3   or about August 4, 2014, the IRS sent Elmer J. Buckardt a Notice of Deficiency per 26 U.S.C.

     4   § 6212 computing his tax liability. The Statutory Notice of Deficiency also asserted additions to

     5   tax under 26 U.S.C. § 6651(a)(1) (late filing penalty), 6651(a)(2) (failure to pay penalty), and

     6   6654(a) (estimated tax penalty). Elmer J. Buckardt did not timely petition the U.S. Tax Court to

     7   review the Statutory Notice of Deficiency.

     8              27.        The assessments for Section 6702 penalties for tax years 2000, 2001, 2002, 2006,

     9   2007, and 2008 in paragraph 20, above, were made pursuant to frivolous federal tax submissions,

    10   including frivolous tax returns for those years.

    11                        COUNT ONE: REDUCE FEDERAL TAX ASSESSMENTS
                          TO JUDGMENT AGAINST DEFENDANT ELMER J. BUCKARDT
    12
                    28.        The United States incorporates and re-alleges as if fully stated herein each of the
    13
         allegations in paragraphs 1 through 27, above.
    14
                    29.        Timely notice stating the amounts and demanding payments of the assessments
    15
         set forth in paragraph 20, above, was given to Elmer J. Buckardt, as required by 26 U.S.C. §
    16
         6303 of the Internal Revenue Code.
    17
                    30.        Despite timely notice and demand for payment of the assessments described in
    18
         paragraph 20, above, Elmer J. Buckardt has neglected, failed, and/or refused to make full
    19
         payment of the assessed amounts to the United States.
    20
                    31.        This action is timely commenced under the provisions of the Internal Revenue
    21
         Code.
    22
                    32.        On or about the dates listed in the chart below, the IRS received Elmer J.
    23
         Buckardt’s requests for collection due process (“CDP”) hearings on IRS notice of tax lien filing
    24
          Complaint                                                              U.S. DEPARTMENT OF JUSTICE
          (Case No. 2:19-cv-00052)
                                                          10                     Tax Division, Western Region
    25                                                                           P.O. Box 683
                                                                                 Washington, D.C. 20044
                                                                                 Telephone: 202-616-3366

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     1   (“Lien Notice”) and notice of intent to levy (“Levy Notice”) with respect to federal income tax

     2   year 2002 and 6702 penalties for tax years 2000, 2001, and 2002 as follows:

     3                 Type of             Tax            CDP hearing        Date IRS received CDP
                       Tax                 Period         request type       hearing request
     4                 1040                12/31/2002     Lien Notice        11/17/2008
                       (Income)
     5
                       1040                12/31/2002     Levy Notice        12/16/2008
                       (Income)
     6
                       6702                12/31/2000     Lien Notice        11/17/2008
                       (Civil Penalty)
     7
                       6702                12/31/2000     Levy Notice        12/16/2008
                       (Civil Penalty)
     8
                       6702                12/31/2001     Levy Notice        12/16/2008
                       (Civil Penalty)
     9
                       6702                12/31/2001     Lien Notice        12/23/2008
    10                 (Civil Penalty)
                       6702                12/31/2002     Levy Notice        12/16/2008
    11                 (Civil Penalty)
                       6702                12/31/2002     Lien Notice        12/23/2008
    12                 (Civil Penalty)

    13              33.        On November 19, 2009, the IRS issued Notices of Determination on the requests

    14   for CDP hearings sustaining the IRS’ collection action. On December 16, 2009, Elmer J.

    15   Buckardt filed a Tax Court petition to review those Notices of Determination (Tax Court Case

    16   No. 29924-09). On June 18, 2012, the Tax Court issued a Memorandum Findings of Fact and

    17   Opinion (T.C. Memo. 2012-170) sustaining the Notices of Determination and granting the IRS’

    18   motion to permit levy with respect to federal income tax year 2002, finding that the underlying

    19   tax liability for 2002 was not at issue in the proceeding. On June 19, 2012, the Tax Court entered

    20   a corresponding Order and Decision. On July 2, 2012, Elmer J. Buckardt filed a notice of appeal

    21   to the United States Court of Appeals for the Ninth Circuit (Ninth Circuit Case No. 12-72119).

    22   On August 20, 2014, the Ninth Circuit affirmed the Tax Court Order and Decision.

    23              34.        The request for CDP hearings and subsequent judicial review, described in

    24   paragraphs 32-33, above, extended the statutory period of limitations on federal income tax year
          Complaint                                                           U.S. DEPARTMENT OF JUSTICE
          (Case No. 2:19-cv-00052)
                                                        11                    Tax Division, Western Region
    25                                                                        P.O. Box 683
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     1   2002 and for the Section 6702 penalties for tax years 2000, 2001, and 2002, to March 31, 2019,

     2   at the earliest, pursuant to 26 U.S.C. §§ 6330(e) and 6320(c).

     3              35.        The United States has established a claim against Elmer J. Buckardt in the amount

     4   of $737,220.48 for unpaid federal income taxes and civil penalties under 26 U.S.C. §§ 6702 and

     5   6673, as of December 14, 2018. Additional unassessed interest and other statutory additions as

     6   provided by law will accrue on these balances.

     7    COUNT TWO: TO SET ASIDE TRANSFERS OF THE SUBJECT PROPERTIES AS
         FRAUDULENT, OR ESTABLISH THE D’SKELL AGAPE SOCIETY AS NOMINEE OR
     8                    ALTER EGO OF ELMER J. BUCKARDT

     9              36.        The United States incorporates and re-alleges as if fully stated herein each of the

    10   allegations in paragraphs 1 through 35, above.

    11              37.        On or about November 8, 2000, Elmer J. Buckardt and Karen A. Buckardt

    12   acquired the Subject Properties as husband and wife by Statutory Warranty Deed from Karen O.

    13   Vance and Connie S. Danielson.

    14              38.        On or about November 16, 2000, a Deed of Trust in the amount of $237,500 was

    15   granted by the Buckardts to Chase Manhattan Mortgage Corporation (“Chase”). The Buckardts

    16   used the Subject Properties as collateral to secure the loan. The Deed of Trust was recorded with

    17   the Snohomish County Auditor on November 16, 2000 (Instrument No. 200011160584).

    18              39.        On or about April 30, 2001, Elmer J. Buckardt and Karen A. Buckardt purported

    19   to transfer the 5933 Property to the D’Skell Agape Society for no consideration by Quit Claim

    20   Deed. The Quit Claim Deed was recorded with the Snohomish County Auditor on May 2, 2001

    21   (Instrument No. 200105020278).

    22              40.        On or about April 30, 2001, Elmer J. Buckardt and Karen A. Buckardt purported

    23   to transfer the 6005 Property to the D’Skell Agape Society for no consideration by Quit Claim

    24   Deed. The Quit Claim Deed was recorded with the Snohomish County Auditor on May 2, 2001
          Complaint                                                              U.S. DEPARTMENT OF JUSTICE
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                                                          12                     Tax Division, Western Region
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     1   (Instrument No. 200105020277).

     2              41.        On or about July 26, 2002, a Substitution of Trustee/Deed of Reconveyance dated

     3   July17, 2002 from Chase was recorded with the Snohomish County Auditor (Instrument No.

     4   200207260802).

     5              42.        The purported transfers of the Subject Properties to the D’Skell Agape Society

     6   were not for reasonably equivalent value.

     7              43.        At the time of the purported transfers of the Subject Properties to the D’Skell

     8   Agape Society, the Buckardts each knew or had reason to know that Elmer J. Buckardt and the

     9   Buckardts’ marital community had incurred or would incur federal tax liabilities.

    10              44.        The D’Skell Agape Society, a purported “corporation sole,” is purportedly a

    11   religious entity that is located at the 5933 Property, and has the Buckardts’ mailing address of

    12   P.O. Box 1142, Stanwood, WA 98292.

    13              45.        The D’Skell Agape Society does not have a federal identification number and has

    14   never filed any federal tax returns.

    15              46.        Elmer J. Buckardt is the “Governor,” “Overseer,” and registered agent of the

    16   D’Skell Agape Society.

    17              47.        As “Overseer” of the D’Skell Agape Society, Elmer J. Buckardt recorded the

    18   following documents regarding the 5933 Property: “Declaration of Covenant” on September 26,

    19   2002 (Instrument No. 200209260327); Well Water Arsenic Disclosure on March 26, 2003

    20   (Instrument No. 200303260963); and Distribution Easement on May 2, 2003 (Instrument No.

    21   200305020040), with the Snohomish County Auditor.

    22              48.        The D’Skell Agape Society maintains a bank account at U.S. Bank. The only

    23   authorized signer for this bank account is Elmer J. Buckardt. Elmer J. Buckardt uses this bank

    24   account for his own personal use. Elmer J. Buckardt deposits his personal funds into this bank
          Complaint                                                              U.S. DEPARTMENT OF JUSTICE
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     1   account and uses this bank account to pay his personal expenses, including expenses associated

     2   with the Subject Properties (e.g. utilities and property taxes).

     3              49.        The D’Skell Agape Society exists solely for the purpose of holding title to the

     4   Subject Properties or for the purpose of holding title to the Subject Properties.

     5              50.        The D’Skell Agape Society is used as a mere shell to shield assets from tax

     6   collection.

     7              51.        After the purported transfers of title to the Subject Properties to the D’Skell

     8   Agape Society, Elmer J. Buckardt continued to reside at the 5933 Property and enjoy the use and

     9   benefits of the Subject Properties. Elmer J. Buckardt has paid no rent to the D’Skell Agape

    10   Society for the continued use of the Subject Properties.

    11              52.        After the purported transfers of title to the Subject Properties to the D’Skell

    12   Agape Society, Elmer J. Buckardt continued to make all decisions with respect to the Subject

    13   Properties.

    14              53.        The D’Skell Agape Society maintains no utility account with Snohomish County

    15   for the Subject Properties. The utility accounts with Snohomish County for the Subject

    16   Properties are held in the name of the Buckardts. Payment of utilities is made from the bank

    17   accounts of both Elmer J. Buckardt and the D’Skell Agape Society.

    18              54.        Based on the foregoing, and because Elmer J. Buckardt maintained a beneficial

    19   interest in and control over the Subject Properties, to the extent that the D’Skell Agape Society

    20   holds title to the Subject Properties, it does so as the nominee of Elmer J. Buckardt.

    21              55.        In addition, the D’Skell Agape Society is the alter ego of Elmer J. Buckardt, and

    22   its form should be disregarded because Elmer J. Buckardt has abused the formalities of the

    23   corporation entity to evade payment of his federal tax liabilities and because disregard of the

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     1   formalities of the corporation is necessary and required to prevent unjustified loss to the Internal

     2   Revenue Service.

     3              56.        Alternatively, the purported transfers of the Subject Properties to the D’Skell

     4   Agape Society was fraudulent as to the United States.

     5              57.        The purported transfers of the Subject Properties to the D’Skell Agape Society

     6   were made with the actual intent to hinder, delay, or defraud the United States of present and

     7   future lawful taxes and were transferred without receiving adequate consideration. The transfers

     8   were thus fraudulent transfers that should be set aside under RCW 19.40.041(a)(1) (version

     9   effective to July 22, 2017).

    10              58.        Alternatively, the purported transfers of the Subject Properties to the D’Skell

    11   Agape Society were made without receiving equivalent value in exchange for the transactions

    12   and Elmer J. Buckardt intended to incur or reasonably should have believed that he would incur

    13   debts beyond his ability to pay. The transfers were thus fraudulent transfers that should be set

    14   aside under RCW 19.40.041(a)(2) (version effective to July 22, 2017).

    15              59.        Any claim to or interest in the Subject Properties by the D’Skell Agape Society is

    16   fraudulent and/or non-existent. Any such claim or interest was part of a scheme to defraud

    17   creditors of Elmer J. Buckardt and the marital community of the Buckardts, including the United

    18   States, and have no merit.

    19              60.        Elmer J. Buckardt is the true owner of the Subject Properties.

    20                               COUNT THREE: FORECLOSE FEDERAL TAX LIENS

    21              61.        The United States incorporates and re-alleges as if fully stated herein each of the

    22   allegations in paragraphs 1 through 60, above.

    23              62.        Elmer J. Buckardt’s unpaid tax liabilities from the assessments described in

    24   paragraph 20, above, were incurred during the Buckardts’ marriage and are presumed to be
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     1   community debts of the Buckardts under Washington law.

     2             63.     Pursuant to 26 U.S.C. §§ 6321 and 6322, federal tax liens for unpaid tax liabilities

     3   have arisen against and attached to all property and rights to property of Elmer J. Buckardt and

     4   the marital community of the Buckardts, as of the dates of the assessments described in

     5   paragraph 20, above, including the Subject Properties.

     6             64.     The federal tax liens continue to attach to the Subject Properties.

     7             65.     In order to provide notice to third parties entitled to notice of the statutory liens

     8   under 26 U.S.C. § 6323, the IRS recorded the following Notices of Federal Tax Lien (“NFTL”)

     9   naming Elmer J. Buckardt as the taxpayer with the Snohomish County Auditor:

    10       Type of                  Tax             Notice            Recording Date          Instrument No.
             Tax                      Period
    11
             1040 (Income)            12/31/2002      NFTL              11/14/2008              200811140030
    12       67022 (Civil Penalty)    12/31/2000
             6702 (Civil Penalty)     12/31/2001      NFTL              12/09/2008              200812090054
    13                                12/31/2002
             1040 (Income)            12/31/2003      NFTL              11/28/2012              201211280103
    14                                12/31/2004
                                      12/31/2005
    15                                12/31/2008
             6673 (Civil Penalty)     12/31/2008
    16       6702 (Civil Penalty)     12/31/2006
                                      12/31/2007
    17                                12/31/2008
             1040 (Income)            12/31/2010      NFTL              11/04/2013              201311040321
    18       1040 (Income)            12/31/2007      NFTL              06/03/2014              201406030410
             1040 (Income)            12/31/2002      NFTL Refile       10/15/2014              201410150168
    19       1040 (Income)            12/31/2011      NFTL              01/16/2015              201501160149
             67023 (Civil Penalty)    12/31/2000      NFTL Refile       10/25/2017              201710350256
    20       6702 (Civil Penalty)     12/31/2001      NFTL Refile       10/25/2017              201710250257
                                      12/31/2002
    21
         2
            The NFTL contains a typographical error indicating that the kind of tax is for “6672” (civil
    22   penalty for trust fund recovery penalties under 26 U.S.C. § 6672) for the tax period ending
         December 31, 2000.
    23   3
            The NFTL Refile contains a typographical error indicating that the kind of tax is for “6672”
         (civil penalty for trust fund recovery penalties under 26 U.S.C. § 6672) for the tax period ending
    24   December 31, 2000.
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     1              66.        In order to provide notice to third parties entitled to notice of the statutory liens

     2   under 26 U.S.C. § 6323, the IRS recorded the following NFTLs naming “The D’Skell Agape

     3   Society, Nominee of Elmer J Buckardt” as the taxpayer and concerning the 5933 Property with

     4   the Snohomish County Auditor:

     5    Type of                         Tax             Notice            Recording Date       Instrument No.
          Tax                             Period
     6
          1040 (Income)                   12/31/2002      NFTL              04/25/2016           201604250318
     7                                    12/31/2003
                                          12/31/2004
     8                                    12/31/2005
                                          12/31/2007
     9                                    12/31/2008
                                          12/31/2010
    10                                    12/31/2011
          6702 (Civil Penalty)            12/31/2000
    11                                    12/31/2001
                                          12/31/2002
    12                                    12/31/2006
                                          12/31/2007
    13                                    12/31/2008
          6673 (Civil Penalty)            12/31/2008      NFTL              04/25/2016           201604250320
    14    6702 (Civil Penalty)            12/31/2000      NFTL Refile       10/25/2017           201710250258
                                          12/31/2001
    15                                    12/31/2002

    16              67.        In order to provide notice to third parties entitled to notice of the statutory liens

    17   under 26 U.S.C. § 6323, the IRS recorded the following NFTLs naming “The D’Skell Agape

    18   Society, Nominee of Elmer J Buckardt” as the taxpayer and concerning the 6005 Property with

    19   the Snohomish County Auditor:

    20    Type of                         Tax             Notice            Recording Date       Instrument No.
          Tax                             Period
    21    6673 (Civil Penalty)            12/31/2008      NFTL              04/25/2016           201604250321
          1040 (Income)                   12/31/2002      NFTL              04/25/2016           201604250319
    22                                    12/31/2003
                                          12/31/2004
    23                                    12/31/2005
                                          12/31/2007
    24
          Complaint                                                                U.S. DEPARTMENT OF JUSTICE
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                                                           17                      Tax Division, Western Region
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     1                                    12/31/2008
                                          12/31/2010
     2                                    12/31/2011
          6702 (Civil Penalty)            12/31/2000
     3                                    12/31/2001
                                          12/31/2002
     4                                    12/31/2006
                                          12/31/2007
     5                                    12/31/2008
          6702 (Civil Penalty)            12/31/2000      NFTL Refile       10/25/2017           201710250263
     6                                    12/31/2001
                                          12/31/2002
     7
                    68.        In order to provide notice to third parties entitled to notice of statutory liens under
     8
         26 U.S.C. § 6323, the IRS recorded NFTLs naming Elmer J. Buckardt and “The D’Skell Agape
     9
         Society, Nominee of Elmer J Buckardt” as the taxpayer with the Washington State Department
    10
         of Licensing.
    11
                    69.        The Subject Properties, including all fixtures thereon, are encumbered with liens
    12
         for the unpaid federal tax assessments described in paragraph 20, above.
    13
                    70.        The United States seeks to foreclose the federal tax liens above through the sale of
    14
         the Subject Properties.
    15
                    71.        The federal tax liens arising from the assessments described in paragraph 20,
    16
         above, have priority over all interests in the Subject Properties acquired after the attachment of
    17
         the federal tax liens, subject to the provisions of 26 U.S.C. § 6323.
    18
                    72.        Under 26 U.S.C. § 7403(c), the United States is entitled to enforce its federal tax
    19
         liens upon the Subject Properties and to receive the proceeds from the sale of the Subject
    20
         Properties to be applied toward satisfaction of the outstanding and unpaid tax assessments
    21
         against Elmer J. Buckardt.
    22
         ///
    23
         ///
    24
          Complaint                                                               U.S. DEPARTMENT OF JUSTICE
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     1              WHEREFORE, the Plaintiff, the United States, prays as follows:

     2              A.         That this Court determine, adjudge, and decree that Defendant Elmer J. Buckardt

     3   is indebted to the United States for unpaid: federal income tax liabilities for the tax years 2002,

     4   2003, 2004, 2005, 2007, 2008, 2010, and 2011; Section 6702 penalty liabilities for tax years

     5   2000, 2001, 2002, 2006, 2007, and 2008; and Section 6673 penalty liabilities for tax year 2008,

     6   described in paragraph 20, above, in the amount of $737,220.48 as of December 14, 2018, less

     7   any subsequent payment or credits, plus interest and other statutory additions, as provided by

     8   law, and that judgment in that amount be entered against Defendant Elmer J. Buckardt;

     9              B.         That this Court determine, adjudge, and decree that the United States has valid

    10   and subsisting federal tax liens, by virtue of the assessments described in paragraph 20, above,

    11   against all property and rights to property of Defendant Elmer J. Buckardt and the martial

    12   community of the Buckardts, including but not limited to, the Subject Properties;

    13              C.         That this Court determine and adjudge that Defendant the D’Skell Agape Society

    14   is the nominee and/or alter-ego of Defendant Elmer J. Buckardt and that the D’Skell Agape

    15   Society is not a purchaser of the Subject Properties as that term is defined in 26 U.S.C.

    16   § 6323(h)(6);

    17              D.         That this Court determine that the purported conveyances of the Subject

    18   Properties to Defendant the D’Skell Agape Society, were fraudulent conveyances and of no

    19   effect as to the lien claims of the United States, and that they be set aside;

    20              E.         That this Court determine, adjudge, and decree that any claim to or interest in the

    21   Subject Properties by any title holder or transferee other than Defendant Elmer J. Buckardt is

    22   fraudulent and/or non-existent;

    23              F.         That this Court determine the merits and priority of any claims or interests of the

    24   other named defendants in the Subject Properties and their respective priority to a distribution of
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     1   proceeds from a sale of the Subject Properties;

     2              G.         That the federal tax liens against Defendant Elmer J. Buckardt encumbering the

     3   Subject Properties be foreclosed;

     4              H.         That the Subject Properties be sold with the proceeds applied to the delinquent

     5   federal tax liabilities of Defendant Elmer J. Buckardt; and

     6              I.         That the United States be granted its costs and fees herein, and such other and

     7   further relief as this Court deems just and proper.

     8            DATED this 11th day of January, 2019.

     9                                                               Respectfully submitted,

    10                                                               RICHARD E. ZUCKERMAN
                                                                     Principal Deputy Assistant Attorney General
    11
                                                                     /s/ Yen Jeannette Tran                    _
    12                                                               YEN JEANNETTE TRAN
                                                                     Trial Attorney, Tax Division
    13                                                               U.S. Department of Justice
                                                                     P.O. Box 683
    14                                                               Washington, D.C. 20044
                                                                     202-616-3366 (v)
    15                                                               202-307-0054 (f)
                                                                     y.jeannette.tran@usdoj.gov
    16
                                                                     Of Counsel:
    17                                                               ANNETTE L. HAYES,
                                                                     United States Attorney,
    18                                                               Western District of Washington

    19                                                               Attorneys for the United States of America

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          (Case No. 2:19-cv-00052)
                                                         20                     Tax Division, Western Region
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